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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                               PINE BLUFF DIVISION


AUSTIN JAY BURNS                                                                PLAINTIFF
                                     5:17CV00223-JLH-JTR
KENDRICK R. AVERY                                                             DEFENDANT


                               PLAINTIFF’S PRETRIAL ISSUES

       For his Pretrial Disclosures, Plaintiff, Austin Jay Burns, by and through undersigned

counsel, sets forth the following:

1.     The identity of the party submitting information:

       Mark F. Hampton, attorney for Austin Jay Burns

2.     The names, addresses and telephone numbers of all counsel for the Plaintiff:

       Mark F. Hampton, Arkansas Bar No. 85066
       1122 West Capitol Avenue
       Little Rock, Arkansas 72201
       (501) 376-6277

3.     A brief summary of claims and relief sought:

       One claim issue remains in this case: Plaintiff Burns claims that on April 11, 2017, that

Defendant Kedrick Avery used excessive force against him, when he deployed a second round of

pepper-spray while extracting Plaintiff and his cellmate from their cell. Defendant Avery denies

the allegations against hm.

       Plaintiff Burns seeks compensatory damages.

4.     Prospects for settlement:

       The parties have not discussed settlement options; however, at this time, Plaintiff Burns

does not anticipate this matter settling.
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5.     The basis for jurisdiction or objections to jurisdictions:

       This Court has jurisdiction over the present action pursuant to 42 U.S.C. § 1983.

6.     A list of pending motions:

       No motions are currently pending.

7.     A concise summary of facts:

       Austin Burns, ADC # 551922, is currently an inmate with the Arkansas Department of

Corrections. On April 11, 2017, Austin Burns was housed in administrative segregation at

Cummins Unit for assaulting an inmate. At no point, has Burns admitted to having a history of

assaulting prison guards; however, he does admit to assaulting other inmates. At that time

Kedrick Avery was a lieutenant for the ADC at the Cummins Unit. On April 11, 2017, several

officers reported that the inmates in cell East 15, which was Burns’ cell, had thrown urine on

them (referred to as “dashing”). After learning about the other guards having urine thrown on

them by the inmates in cell East 15, Lt. Avery went to the cell and he too had urine thrown on

him. Then, Lt. Avery assembled a team to extract Burns and his cellmate from their cell.

       Before the guards arrived at this cell, Burns had placed the mat from his bed at the back

of the cell and hunkered down behind it and waited for the guards to arrive. A copy of the video

of the cell extraction of Burns is filed under seal. The video shows that a mat had been placed on

the bars of the cell prior to the guards arriving at the cell. Lt. Avery tells Burns and Phillips

multiple times to come forward to be cuffed or he will deploy pepper spray into the cell. Burns

admits that he refused to “catch the cuffs” (meaning to come to the cell door so the inmate can be

placed in handcuffs). After Burns and Phillips refuse to come forward, Lt. Avery deploys the

pepper-spray into the cell. The video shows that Burns and Phillips continued to hide behind the

mat for approximately twenty seconds and the two inmates refuse to come forward to be cuffed.
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Lt. Avery again tells Burns and Phillips to step forward to be handcuffed. A flash grenade is

then deployed into the cell. Burns testified that he and Inmate Phillips continued to refuse to be

cuffed and continued to barricade themselves behind the mat even after pepper-spray was

deployed into their cell, which Austin Burns admits to the reason that Lt. Avery used the flash

grenade. Eventually, Burns comes to the front of the cell, and Lt. Avery tells him to strip down.

       On this type of cell extraction, before an inmate can be handcuffed, the inmate is required

to strip down naked and squat and cough in order to check that the inmate is not hiding anything

dangerous in his buttocks, which Burns was unware of not having been extracted from his cell

before. Lt. Avery and the other offices tell Burns multiple times to strip down. Burns testified at

his disposition and the video shows that Lt. Avery told him roughly 10 times to strip down

before Lt. Avery deployed a second burst of pepper spray. Lt. Avery stops other guards from

cuffing Burns and Phillips twice and then Lt. Avery deploys a second burst of pepper spray

directly to the backs of both inmates. Burns admits that he was not complying with Lt. Avery’s

orders because he could not understand them. After the second burst of pepper spray, Burns

complied with Lt. Avery’s order to strip down and eventually he squats and coughs. At that

point, Burns is told to put his underwear back on which had to be repeated several times due to

comprehension issues. Once Burns had his underwear back on, he was then handcuffed. After

Inmate Phillips squatted, coughed, and had is underwear back on, he too was handcuffed. Once

both inmates were cuffed the cell door was opened and both men were taken to the showers. As

a result of the incident, Lt. Avery charged Burns with violating the following prison rules: 4-4

Battery – Use of Force on Staff; 4-7 Throwing/Ejecting of Bodily Fluids/Excrement Striking a

Person; 5-3 Assault – Verbal or Written Threat; 12-3 Failure to Obey Order of Staff; and 12-4

Refusing a Direct Verbal Order. However, Burns was found not guilty of all charges except 12-
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4. Burns testified that his only physical injury was a burning sensation on his back, which

stopped after about three days.

8.     All proposed stipulations:

       Plaintiff Burns will stipulate to each of the facts listed in section no. 7 above.

9.     Issues of fact expected to be contested:

       Whether the facts alleged in Plaintiff Burns’ complaint are true.

10.    Issues of law expected to be contested:

       A.      Whether Defendant Avery violated Plaintiff’ Burns, constitutional rights on April

11, 2017, while extracting him from his cell.

       B.      Whether Plaintiff Burns is entitled to damages.

11.    A list of brief description of all exhibits, documents, charts, graphs, models,
       schematic diagrams, summaries, and similar objects which may be used in opening
       statement, closing argument, or any part of the trial, other than solely for
       impeachment purposes, whether or not they will be offered in evidence. Separately
       designate those documents and exhibits that the Plaintiff expects to offer and those
       that the party may offer.

       A. Excerpts from Defendant Avery’s personnel file; and

       B. Any exhibit offered by Defendant Avery.

12.    The names, addresses, and telephone numbers of witnesses for the Plaintiff,
       separately identifying witnesses whom the Plaintiff expects to present and those
       whom the Plaintiff may call. Designation of witnesses whose testimony is expected
       to be presented via deposition and, if not taken stenographically, a transcript of the
       pertinent portion of the deposition testimony.

       A. All witnesses named by the Defendant Avery, and

       B. Rebuttal witnesses (if applicable).

13.    The current status of discovery, a precise statement of the remaining discovery, and
       an estimate of the time required to complete discovery.


            The discovery cutoff has passed.
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14.    An estimate of the length of trial and suggestions for expediting disposition of the
       action.

       Plaintiff Burns anticipates this trial will take 1 – 2 days.




                                               Respectfully submitted,


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                                  CERTIFICATE OF SERVICE

I hereby certify that on August 20, 2019, I electronically filed the foregoing with the Clerk of
Court using CM/ECF system, which shall send notification of such filing to the following:

Vincent France
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